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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Newport News Division


 GEORGIA VOCATIONAL REHABILITATION
 AGENCY BUSINESS ENTERPRISE PROGRAM et al,

                       Plaintiffs,

                 V.                                                   Civil Action No. 4:18cvl48

 UNITED STATES OF AMERICA,                                              PUBLIC VERSION

                       Defendant.

                                      OPINION & ORDER


        This matter comes before the Court on Plaintiffs' Complaint for Temporary Restraining

 Order and Preliminary Injunction. Doc. 1. On December 11, 2018, this Court GRANTED

 Plaintiffs' Motion for Temporary Restraining Order and ORDERED the parties to appear on

 December 14, 2018 for a hearing regarding whether the Court should grant Plaintiffs' request for

 a preliminary injunction. For the reasons stated below, the Court GRANTS Plaintiffs' request for

 a preliminary injunction under the following terms:

        1. Defendant, the United States of America, is ENJOINED from proceeding with the

            procurement of and specifically from making any award of the subject Fort Benning

           Food Service Contract until a decision in arbitration under the Randolph-Sheppard Act

            has been rendered or upon further order of this Court.

        2. The Court's preliminary injunction is conditioned upon Plaintiffs posting a $100,000

           cash or surety bond effective for the duration of the injunction.

        3. The Court's preliminary injunction is further conditioned upon GA-SLA and Mr. Lee's

           company continuing to provide food services to Fort Benning under the same terms
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